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Form CGFD99 (10/13/2022)

                                     United States Bankruptcy Court
                                                Southern District of Florida
                                                  www.flsb.uscourts.gov
                                                                                                  Case Number: 23−16706−PDR
                                                                                                  Chapter: 13
In re:
Ralph Levi Sanders Jr.
561 SW 60TH Avenue
Plantation, FL 33317
SSN: xxx−xx−6171


                                       NOTICE OF PRO BONO RESOURCES
                                    AND PRO SE (SELF−REPRESENTED) CLINICS
    The following resources are available if you wish to retain an attorney and are interested in learning about qualifications for
receiving pro bono (free) or reduced fee legal representations.

           •   The Florida Bar Referral Service                        •   The Bankruptcy Bar Pro Bono Resource Locator
               www.floridabar.org                                          http://www.floridalawhelp.org

         • or the following non−profit organization(s) which provides free or reduced fee legal representation to qualified people
         in your area:

Dade Legal Aid/Put Something Back        Legal Aid Society of Palm Beach County     Florida Rural Legal Services, Inc.
123 N.W. First Avenue                    423 Fern Street, #200                      121 N. 2nd Street, 4th Floor
Miami, Florida 33128                     West Palm Beach, FL 33401                  Ft. Pierce, FL 34960
Telephone: (305) 579−5733                Telephone: (561) 655−8944                  Telephone: (772) 466−4766
Fax: (305) 372−7693                      Telephone: (800) 403−9353                  http://www.frls.org
http://www.dadelegalaid.org              Fax: (561) 655−5269                                or
http://www.dadecountyprobono.org         http://www.legalaidpbc.org                 2051 M.L.K. Jr. Blvd. #101
                                                                                    Riviera Beach, FL 33404
                                                                                    Telephone: (561) 820−8902
                                                                                    http://www.frls.org

Legal Services of Greater Miami, Inc. Legal Aid Service of Broward County, Inc. Coast to Coast Legal Aid of South Florida, Inc.
4343 W Flagler Street, Suite 100      491 N. State Road 7                       491 N. State Road 7, Second Floor
Miami, FL 33134                       Plantation, Florida 33317                 Plantation, Florida 33317
Telephone: (305) 576−0080             Telephone: (954) 765−8950                 Telephone: (954) 736−2400
http://legalservicesmiami.org         http://www.browardlegalaid.org            http://coasttocoastlegalaid.org
                                                                                Broward County residents 60+ where filing will
                                                                                save the home.


   Assistance from these organizations may be based upon the availability of resources and/or your income. This
notice does not guarantee aid from or legal representation by them.
   Employees of the United States Bankruptcy Court are not permitted to recommend or refer you to an attorney nor are they
permitted to provide legal advice, including how to complete the bankruptcy forms or which forms may be required in your
bankruptcy case. Basic filing information is available on this Court's website at www.flsb.uscourts.gov.
    Clinics for self−represented debtors are conducted regularly. See the Court's website for the date and location of a
clinic near you.


Dated: 8/23/23                                                     FOR THE COURT:
                                                                   Joseph Falzone, Clerk of Court
                                                                   United States Bankruptcy Court
                                                                   Southern District of Florida
                                                                   C. Clyde Atkins U.S. Courthouse
                                                                   301 North Miami Avenue, Ste. 150
                                                                   Miami, Florida 33128
The clerk shall serve this notice on the Debtor(s).
